
LYONS, Judge.
Delivered the resolution of the Court, that there was no error in the decree, in establishing the date of the contract; and as to the interest, that the plaintiffs were not entitled to it. Because, if it was certain, they might have distrained, and therefore, should not have lain by and suffered the interest to accumulate; and if it was uncertain (as they themselves plainly shewed it was, by contending, at one time, that it was specie, and at another, that the lease was to be considered as of a different date from that admitted by the defendant, and therefore they did not venture to distrain,) then, according to the very cases relied on by the plaintiff’s counsel, interest was not demandable.* Nor ought the plaintiffs to have interest from the time of the decree;† because they had *217themselves appealed as well as Skipioith; and therefore contributed to rendering the amount uncertain and termined still.
Decree affirmed.

[* Dow v. Adam's adm’rs. 5 Munf. 21; Newton v. Wilson et al. 3 H.&amp; M. 467, and Obermyer v. Nichols, 6 Binney, 159.]


[† See post, Deanes v. Scriba et al. 419.]

